                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )      Criminal No. 3:10-00163
                                                  )      Judge Trauger
                                                  )
[25] RODNEY BRITTON                               )

                                            ORDER

       It is hereby ORDERED that a hearing shall be held on the Petition to Revoke

Supervision (Docket No. 1932) on Friday, March 22, 2013, at 2:30 p.m.

       It is so ORDERED.

       Enter this 11th day of March 2013.



                                                  ___________________________________
                                                          ALETA A. TRAUGER
                                                        United States District Judge




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